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UNITED STATES DISTRICT COURT

for the
District of New Mexico

United States of America

Y.

ini 1:21-mj-01365-SCY
Dominic Thomas Case No. 7}

Defendant

 

WAIVER OF PERSONAL PRESENCE AT HEARING

l, Dominic Thomas , Defendant, understand that I am scheduled for

a Detention 1/27/2022

hearing on
nature of hearing date

 

 

I understand that I may appear by video for this proceeding. I hereby ask to be permitted to

appear for the hearing by video, and waive my right to be personally present for this hearing.

 

». 27/2022

 

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Defendant's signature
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Signatud of defendant's attorney

Todd J. Bullion

Printed name of defendant's attorney

todd@bullionlaw.com

Defendant's attorney's e-mail address

 

 
